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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                 90 Civ. 5722 (VM)
                        Plaintiff,

-against-

DISTRICT COUNCIL OF NEW YORK
CITY AND VICINITY OF THE UNITED
BROTHERHOOD OF CARPENTERS
AND JOINERS OF AMERICA, et al.,

                        Defendants.




            SIXTH INTERIM REPORT OF THE INDEPENDENT MONITOR




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                                          and Vicinity of the United
                                          Brotherhood of Carpenters and
                                          Joiners of America



                                          December 31, 2018
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I.     INTRODUCTION

       Pursuant to Paragraph 5.l.iii of the Stipulation and Order filed in this matter on June 1,

2018 (the “2018 Stipulation and Order”), I respectfully submit this Sixth Interim Report as the

Independent Monitor (“IM”) of the District Council of New York City and Vicinity of the United

Brotherhood of Carpenters and Joiners of America (the “District Council” or “Union”).

       This report outlines my assessment of the District Council’s progress towards achieving

the objectives of the 2018 Stipulation and Order and the Consent Decree approved by the Court

on May 4, 1994; my view on the sustainability of reforms previously implemented; and my

recommendations going forward. In the interest of keeping it brief and to the point, this report

will focus primarily upon the goals identified in my Fifth Interim Report. Any additional

information requested by the Court will be provided in a supplemental filing.

       As reported in the Fifth Interim Report, 2017 was our most active year since I began as

the IM, handling issues such as the District Council election, changes in the Bylaws, a review of

the Office of the Inspector General (“OIG”) and finding a new Inspector General (“IG”), and

handling numerous investigations (exacerbated by the temporary absence of an IG). Since our

last report, we have worked extensively with the United States Department of Labor (“DOL”)

following up on complaints filed related to the District Council election, we have worked with

the OIG (which has taken back the lion’s share of the rudimentary investigations we had been

handling), and we have handled a number of matters arising from complaints raised by current

and former District Council employees. I cannot say this year has been less busy than the last,

but it is clear that the OIG is beginning to manage some of the more routine issues that came to

my office last year. That is a good development, and ultimately, the key to the District Council

moving towards self-governance. I have said many times that the Consent Decree and its anti-

corruption principles will always be in place, but as my current term draws to a close in March

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2019, I am hopeful that the District Council will be capable of transitioning further towards self-

governance and becoming less in need of constant review and intervention from an external

monitor.

II.    THE DISTRICT COUNCIL

       A.      Updates

               1.     Elections

       As discussed in the Fifth Interim Report, District Council elections were held in

December 2017. During the campaign, complaints were made about violations of the election

rules. In each instance, the IM team reviewed the complaints, attempted to interview relevant

parties where appropriate, conducted additional independent investigation if needed, reached a

conclusion as to the alleged violation, and, to the extent there was any colorable violation or

concern, appropriate action was taken.

       Complaints regarding campaign tactics were also made to the DOL. In particular, the

DOL investigated the allegation that incumbents were using phone lists of union members that

were created using District Council resources – an issue which had previously been investigated

by my office during the course of the election and ultimately reviewed by the Court. On October

25, 2018, we were advised by letter that the DOL had made the following investigative findings:

       NYCDCC candidates campaigned using union member phone lists that were
       created, in part, by union officials in their official union capacities. Those lists
       were not shared with all candidates, in violation of Section 401(c) of the
       LMRDA. Furthermore, those lists constituted union resources used to campaign,
       in violation of Section 401(g) of the LMRDA.

The DOL additionally advised the District Council that it would be closing its investigation

because, even assuming its investigative findings were correct, they did not affect the outcome of

the election. The DOL’s headquarters in Washington, D.C. formally closed the investigation by

letter dated November 15, 2018.

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For additional detail on these and previous cases, please refer to my First, Second, Third,

Fourth and Fifth Interim Reports at ECF Nos. 1628 at 37-39, 1653 at 24-26, 1704 at 9,

1755 at 11, and 1786 at 21-23.

       B.      Progress on Goals

               1.      Office of the Inspector General

       My office has been working closely with Mr. David Pié, Inspector General, since he

started at the District Council in January 2018 and we will continue to work with him to ensure a

smooth transition and implementation of our recommendations.               Mr. Pié has already

implemented numerous recommendations and continues the process of incorporating those that

remain. Individual investigators are now empowered with greater autonomy over their cases and

are the ones to bring them before the Trial Committee or Shop Steward Review Committee.

Training in the OIG is also continuing apace. Earlier this year, the investigators attended a

summit hosted by the Interstate Labor Standards Association on issues of prevailing wage.

       In the regular course, members’ complaints of violations of UBC Constitution and

District Council Bylaws made to my office are first referred to the OIG for investigation. The

OIG combines the subject matter expertise of the carpenter investigators and its progressing

investigative skills to handle most of the complaints. The OIG has also shown its capabilities on

more complex cases when it successfully handled the investigation of a personnel violation

earlier this year.   Additionally, the OIG refers issues to local or state law enforcement as

appropriate. For example, earlier this year the OIG brought the issue of fraudulent union letters

purporting to be from a Local to the attention of the New York City Department of Investigation.

In turn, many of the more common PLA and CBA violations observed by OIG investigators on

the jobsite are now referred to the Council Representative Center to address, rather than the OIG



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automatically initiating the grievance process against employers. This more efficient distribution

of work is a crucial step towards the District Council’s eventual self-governance.

                 2.     Compliance Initiatives

          As previously reported, my team began a comprehensive review of the Council

Representative Center to best evaluate the effectiveness of its compliance controls. At the time

of my Fifth Interim Report, I advised the Court that we had suspended our review as we focused

on the District Council election and all the matters that flowed from it. Since then, we have been

busy with other matters, including our independent review of a terminated Council

Representative, discussed herein, but we hope to resume this important project by conducting

additional interviews to fully understand the Council Representative Center’s operations in order

to ensure it functions in a corruption-free manner. Once complete, I expect we will provide a

series of recommendations to the Council Representative Center and the District Council

leadership regarding its infrastructure, compliance controls, and the Council Representative

Center manual which has been a project in the works for the past two years.

          The Chief Compliance Officer has been active with a number of new projects this year,

including updating the Shop Steward Code of Ethics, revising the Trial Committee procedures,

designing election training, and advising the District Council of best practices on a number of

issues.

                 3.     Operation of New OWL Rules

          As I have previously reported, the District Council has implemented revised Out-of-Work

List (“OWL”) rules, which allow carpenters who have received fewer than 45 days of work to

maintain their position on the OWL by reporting their unemployment within that period.

Realizing that this could create the perverse incentive for a carpenter to quit a job before that

time period runs in hopes of being quickly assigned to a longer-term job, Council

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Representatives automatically review members who report unemployment close to the end of the

45-day period. Thus far, no instances of system-gaming job-quitting have been detected. This

issue will continue to be monitored by the Council Representative Center as it is possible for

such activity to increase in a slower market.

        Another procedural change that the District Council has implemented involves Acting

Shop Stewards. When a certified shop steward who possesses the skills needed for a job is not

available on the OWL, a member with the required skills1 is dispatched from the OWL as an

Acting Shop Steward.2 Historically, as soon as a qualified Certified Shop Steward became

available on the OWL, he or she would be sent to replace the Acting Shop Steward. Employers

disliked this process because of the disruption to their team and expense associated with

onboarding new hires. Non-Certified Shop Steward members also had reason to dislike this

process because they were at risk of losing their job if the employer didn’t want to increase the

crew when a qualified Certified Shop Steward became available. And despite the job security

that this process afforded Certified Shop Stewards, the District Council still suffered from a

shortage because most members apparently did not find that incentive great enough to spend the

time to undergo the certification training.

        Because this process provided little benefit to offset its detrimental effects, the District

Council created a new process that strikes a different balance. After receiving feedback from the

membership at a Delegate Body meeting, this process was revised further. Now when an Acting

Shop Steward is used because of the unavailability of any qualified Certified Shop Steward, he

or she will not necessarily be replaced as soon as a qualified Certified Shop Steward becomes


        1
          OWL requests are monitored to ensure that the skills requested are actually needed for the job and the
employer is not simply trying to avoid the hiring of a certified Shop Steward.
        2
          Acting Shop Stewards are required to be eligible pursuant to Section 504 of the Labor Management
Reporting and Disclosure Act.

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available on the OWL. Rather, for jobs not anticipated to last more than forty-five (45) days, the

Acting Shop Steward will be allowed to continue to serve in that capacity for the duration of the

job, providing the continuity desired by the employers. For jobs anticipated to last more than

forty-five (45) days, the Council Representative can direct the OWL to continue efforts to

dispatch a Certified Shop Steward to the job to replace the Acting Shop Steward. The Council

Representative’s decision will be documented and subject to review by District Council

leadership. Any Acting Shop Steward who is replaced by a Certified Shop Steward and loses his

or her job after less than forty-five days will have his or her OWL referral restored. Regardless

of the anticipated length of the job, if at any point the employer decides to increase the size of the

crew where there is an Acting Shop Steward, the next hire must be a qualified Certified Shop

Steward, if one is available (and the previous Acting Shop Steward is to stay on as a regular

journeyman). Through my discussions with the District Council leadership about this policy

change, it was evident that potential compliance implications were at the forefront of their

considerations. I applaud the District Council for their innovation to better their relationship

with employers in this competitive environment while incorporating the desires of the

membership and balancing the needs of compliance.

       As discussed in more detail in the sealed letter to the Court accompanying this report,

there was a recent change in the leadership of the OWL office. Following an investigation

conducted by the OIG into a personnel issue, the District Council and the former head of the

office reached an agreement and he departed the District Council. That position has been filled

internally and we will continue to work with the new OWL head and the OIG to ensure

continued compliance within this important component of the District Council




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                  4.      Grievances Department

        The current count of unresolved grievances is around 1,000, less than half the number as

of March 2017 reported in the Fourth Interim Report. In 2018, approximately 400 grievances

were closed, while fewer than 200 new grievances were opened. I continue to view these

developments positively and expect the District Council will remain focused on resolving the

grievance backlog going forward.

                  5.      Trial Committee and Shop Steward Review Committee

        As the Court is aware, last year I permitted John Daly, who had previously been removed

as a shop steward, to undergo Shop Steward Review so that the Shop Steward Review

Committee could specify some limit – or no limit – to the time period during which Mr. Daly is

not permitted to hold a shop steward position, after which he could re-apply. 3 The disappointing

proceedings of Mr. Daly’s Shop Steward Review are detailed in the Fifth Interim Report. The

“re-do” I requested was scheduled for November 28, 2018. This time, the proceeding was

respectful and the Shop Steward Review Committee clearly understood their task and asked

relevant questions. Ultimately, the Shop Steward Review Committee determined that Mr. Daly

would be ineligible to reapply to become a shop steward again for eight (8) years from the date

of the hearing.

III.    THE OFFICE OF THE INDEPENDENT MONITOR

        A.        Investigations

        In my last three Interim Reports, I discussed my office’s investigation into suspected

delinquencies in certain employers’ contributions to a Local Union’s Membership Relief Fund

(“MRF”) and the efforts to collect the amounts owed. To date, outside legal counsel for the


        3
          The underlying facts and proceedings that lead to John Daly’s removal as Shop Steward and
Executive Committee Delegate were detailed in the Fifth Interim Report and will not be repeated here.

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MRF has been managing the collection process. “Dunning” letters were sent to delinquent

employers for the years 2011-2013, advising amounts owed and requesting immediate payments.

The accounting of moneys owed to the MRF through 2018 is in the process of being finalized,

and the same process will be repeated for the years 2014-2018.

       The MRF’s counsel is coordinating with the Local Union that absorbed the MRF’s

associated Local to better structure the assessment process and permit more regular, less cost-

prohibitive auditing of the fund going forward. Starting in 2019, a new fund account will be

created for current members of the Local Union who were not members of the absorbed Local

(and therefore are not eligible for benefits from the MRF). Contributions will be made by the

members, rather than employers, which will make accounting of contributions easier to track and

removes the risk of corrupt bargains with employers over their contributions. After contributions

into the new fund have reached a certain amount relative to balance of the MRF, the remaining

assets of the MRF will be transferred to the new fund and all Local Union members can

contribute to and receive benefits from the new fund.

       One new investigation of significance this year involves the circumstances surrounding

the termination of Peter Corrigan as a Council Representative, which was presented to me as

grounds for his removal from his elected position as a District Council Delegate pursuant to the

procedure set forth in Paragraph 5.b.ii of the Stipulation and Order.

       Last winter, OIG investigators identified and interviewed several Local Union 212

apprentices who were referred to jobsites for employment by Mr. Corrigan between the period of

January 2017 and June 2017. OIG investigators independently interviewed four apprentices and

each apprentice indicated that Mr. Corrigan had directed them to a single, specific jobsite where

there would be an opportunity for them to be hired and, in each instance, the apprentice went to

the jobsite provided by Mr. Corrigan and was hired. With respect to one of the apprentices, Mr.

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Corrigan referred him/her to a specific jobsite on two separate occasions. In several instances,

the contact between Mr. Corrigan and the apprentice was corroborated by a review of Mr.

Corrigan’s telephone records.

       On December 19, 2017, Mr. Corrigan was interviewed by OIG investigators regarding

referring Local Union 212 apprentices to jobs during the period of January 2017 to June 2017.

The OIG investigators asked Mr. Corrigan how specific apprentices came to obtain this work.

Mr. Corrigan first acknowledged that he was not allowed to send a member to a jobsite, but then

stated that he gives members four to five jobsite locations where they can go and “shape a job.”

OIG investigators asked Mr. Corrigan if he ever told members whom to see when arriving on a

jobsite and he responded that he did not. The statements made by Mr. Corrigan conflicted with

the statements made by those previously interviewed who all stated they were told of only one

specific jobsite where they could obtain (or “shape”) a job.

       Based on its investigation, the OIG concluded that Mr. Corrigan violated the Bylaws and,

therefore, the Consent Decree. The OIG prepared a report on its investigation containing this

determination, which it provided to District Council leadership and to me. Based on the results

of the OIG investigation, I concurred that the conduct described therein would be a violation of

the Bylaws, and therefore also a violation of the Consent Decree, and advised the District

Council leadership as such. The District Council leadership also concurred with the findings of

the OIG Report and terminated Mr. Corrigan from his employment as a Council Representative

in the spring of 2018.

       As the Independent Monitor, it is my responsibility to assess if Mr. Corrigan’s conduct

warrants his removal as a Delegate to the District Council from Local Union 212 and as

Recording Secretary of Local Union 212. Since such a violation of the Consent Decree and the

Bylaws as described in the OIG Report would certainly justify removal from elected positions, I

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made a preliminary determination that I would recommend to the District Council Executive

Committee that Mr. Corrigan be removed from these positions pursuant to Paragraph 5.b.ii of the

Stipulation and Order. But before I did, in June I notified Mr. Corrigan’s counsel of my intent in

order to provide him with an opportunity to present evidence to the contrary before the removal

procedures under Paragraph 5.b.ii were initiated.

       Prior to receiving any evidence from Mr. Corrigan, a report that had been prepared by a

third party on the subject was sent to me and others in approximately September. The report was

prepared by Debbie Morgan, Legal Research and Investigations, LLC. Although Ms. Morgan

had previously worked with my investigators, her professional relationship with them had been

terminated and her report was not prepared at my office’s direction.         The Morgan Report

documented statements that in many instances contradicted statements made by the same

witnesses that were included in and relied upon by the OIG Report.

       Faced with apparently contradictory accounts by the witnesses, I determined that my

office would conduct its own investigation to determine whether Mr. Corrigan indeed engaged in

conduct that violated the Bylaws and Consent Decree.          The investigation has been mostly

complete for some time but we have been waiting for our collective availability to schedule a

time to interview Mr. Corrigan as the last piece of our review. I expect that interview to occur

within the next week and our final report and findings will be issued soon thereafter.

       Confidential information about other investigations that are still ongoing is provided

under seal.

       B.      A Plan Forward

       This monitorship presently extends through March 31, 2019. In the last Interim Report, I

indicated that would be a time to consider a less active role for the Monitor, who would engage

with the IG and District Council leadership when called upon.            Considering the District

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Council’s progress, especially the transformation underway in the Office of the Inspector

General, I believe the District Council is very much on-track for that moment. However, this

plan is contingent upon continued compliance with the terms of the Consent Decree and the

maintenance of robust internal controls to ensure such compliance in the future, as we expect the

Consent Decree will remain in place indefinitely and irrespective of any changes to the

monitorship. As referenced above, over the course of my fourth year as IM, the District Council

leadership has continued to illustrate a genuine desire to put into place a structure enabling the

District Council to self-govern within the bounds of the Consent Decree. Many of the goals set

forth in my Fifth Interim Report to prepare for this, such as with respect to the IT Upgrade and

the Accounting Department, have been attained. Others, such as the operation of the Office of

the Inspector General, Council Representative Center, Grievance Department, and the Trial

Committee require continued monitorship as new procedures and safeguards are rolled out and

tested. My office has continued to receive complaints about the District Council regarding

multiple issues, though at the same time, they seem to come from the same, small contingent of

disaffected members.    I am optimistic that the District Council’s steady progress towards

compliant systems with robust internal controls will warrant a different form of monitorship in

the future.

        In the last Interim Report, we discussed commencing a “phased” approach, involving

increasingly sharing our investigative work with the OIG as the new IG gains familiarity with the

District Council, with the goal of fully transitioning our investigative work by the end this

current term (ending on March 31, 2019). We have transitioned to the OIG the membership

hotline and concerns raised by members that relate to benefits, wages, and jobsite-related issues.

We are continuing to work closely with the OIG and District Council leadership on all matters

that relate to the enforcement of the Consent Decree and ongoing investigations as appropriate.

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Some of these investigations are described in an ex parte submission accompanying this Interim

Report, which we would request remains under seal.

IV.    CONCLUSION

       Should the Court require any additional information, please contact the undersigned at

Your Honor’s convenience. We look forward to appearing before Your Honor in the near future

to address concerns and questions of the Court.

Date: December 31, 2018
      New York, New York

                                                     Respectfully submitted,

                                            By:      /s/ Glen G. McGorty
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